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                               Exhibit 38



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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                                                                                  Page 1
                      UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF MASSACHUSETTS

       ---------------------------------X

       IN RE: PHARMACEUTICAL INDUSTRY      ) MDL No. 1456

       AVERAGE WHOLESALE PRICE             ) Civil Action No.

       LITIGATION                          ) 01-12257-PBS

       ---------------------------------X

       THIS DOCUMENT RELATES TO:           ) Hon. Patti B.

       United States of America ex rel. ) Saris

       Ven-A-Care of the Florida Keys,     )

       Inc. v. Abbott Laboratories, Inc.)

       Civil Action No. 06-11337-PBS;      ) TRANSCRIPT OF

       United States of America ex rel. ) PROCEEDINGS

       Ven-A-Care of the Florida Keys,     )

       Inc. v. Dey, Inc., et al., Civil ) DEPOSITION OF

       Action No. 05-11084-PBS; and        ) THE SOUTH DAKOTA

       United States of America ex rel. ) DEPARTMENT OF

       Ven-A-Care of the Florida Keys,     ) SOCIAL SERVICES

       Inc. v. Boehringer Ingelheim        ) by LARRY IVERSEN

       Corp., et al., Civil Action No.     )

       07-10248-PBS                        ) DECEMBER 15, 2008

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                                                                                  Page 2
   1              VIDEOTAPE DEPOSITION OF THE SOUTH DAKOTA
   2         DEPARTMENT OF SOCIAL SERVICES by LARRY IVERSEN
   3

   4

   5                      BEFORE:           Carla A. Bachand, RMR, CRR
   6                                        Court Reporter and Notary Public
   7                                        Pierre, South Dakota
   8                      DATE:             December 15, 2008, at 8:15 a.m.
   9                      PLACE:            Kings Inn Convention Center
 10                                         110 East Sioux Avenue
 11                                         Pierre, South Dakota
 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22




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                                                                                Page 85
   1
          second program establishes a maximum per unit
   2
          price for multiple source drugs and functions in
   3
          much the same fashion as and in conjunction with
   4
          the federal upper limit program."                     Do you
   5
          understand this to refer to the SMAC program?
   6
                   A.       Yes.
   7
                   Q.       And if you look at the top of this
   8
          page, the fax date is November 26, 2002, correct?
   9
                   A.       Yes.
 10
                   Q.       So does this refresh your memory a
 11
          little about the time period that the MAC program
 12
          would have been implemented in 2002?
 13
                   A.       Yes.
 14
                                    (Deposition Exhibit Dey 911 marked
 15
          for identification.)
 16
                   Q.       (BY MS. KHANDHAR)           I have given you
 17
          what's been marked as Dey Exhibit 911.                        This is a
 18
          document that was produced to us by the State of
 19
          South Dakota and it's entitled the "State of
 20
          South Dakota Department of Social Services
 21
          Division of Medical Services consultant contract
 22
          for consultant services between SXC Health

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                                                                                Page 86
   1
          Solutions, Inc., and the State of South Dakota,"
   2
          correct?
   3
                   A.       Yes.
   4
                   Q.       And if you need a minute to review the
   5
          document, you can take a look.                   Have you seen
   6
          this document before?
   7
                   A.       Yes.
   8
                   Q.       Can you identify it for me?
   9
                   A.       It's a contract between the Department
 10
          of Social Services Division of Medical Services
 11
          and SXC Health Solutions.
 12
                   Q.       And can you turn to page seven of the
 13
          document.          Is that your signature on the second
 14
          line at the top of the page?
 15
                   A.       Yes.
 16
                   Q.       Can you describe for me the services
 17
          that SXC's Health Solutions provides the South
 18
          Dakota Medicaid relating to this MAC program?
 19
                   A.       They give us the SMAC pricing and then
 20
          they also provide a Web site for providers to be
 21
          able to access and find out what the MAC pricing
 22
          is on a particular drug.

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                                                                                Page 92
   1
          sentence they are described as stakeholders.
   2
          Would you agree with that description?
   3
                   A.       Yes.
   4
                   Q.       And how are providers stakeholders in
   5
          the political process?
   6
                   A.       I believe that actually that providers
   7
          are stakeholders in terms of the Medicaid
   8
          program, not necessarily the political process.
   9
                   Q.       And how are they stakeholders in the
 10
          Medicaid program?
 11
                   A.       Because they are enrolled providers,
 12
          they agree to accept what the reimbursement rates
 13
          are from Medicaid and serve Medicaid recipients.
 14
          That makes them stakeholders.
 15
                   Q.       They would be stakeholders in that way
 16
          because the reimbursement would be important to
 17
          them in terms of how much money they make and
 18
          whether they make a profit, correct?
 19
                   A.       Yes.
 20
                   Q.       And providers are important to the
 21
          overall South Dakota Medicaid because it would be
 22
          important to South Dakota Medicaid to have enough

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                                                                              Page 138
   1
                   Q.       Previously you referenced that there
   2
          was a political nature to the levels at which
   3
          South Dakota would reimburse providers; do you
   4
          recall that?
   5
                            MS. ACTON:             Object to the form.
   6
                   A.       I recall that there was a particular
   7
          sentence within the SXC document that stated that
   8
          there was a political nature.
   9
                   Q.       (BY MS. RAMSEY)             Would that include
 10
          push back from providers relating to
 11
          reimbursement rates?
 12
                   A.       Providers occasionally, yes, do push
 13
          back as related to reimbursement.
 14
                   Q.       When we looked at some language on the
 15
          last page of that document regarding the fact
 16
          that neither the FUL or AWP means anything for
 17
          generic drugs, what do you understand?
 18
                   A.       Last page of which document?
 19
                   Q.       I'm sorry, the same exhibit we are
 20
          looking at, Dey 912.
 21
                   A.       Okay.       What's your question, please?
 22
                   Q.       Relating to the sentence that states,

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                                                                              Page 139
   1
          "For multiple source drugs, I would make
   2
          extensive use of state upper limits as neither
   3
          the FUL nor AWPs means anything for generic
   4
          drugs," what do you understand that sentence to
   5
          mean?
   6
                   A.       I understand that to be Mr. Hazelwood's
   7
          opinion about FUL and AWP.
   8
                   Q.       How does that relate to South Dakota's
   9
          opinion regarding published AWPs as compared to
 10
          the price at which providers can acquire multiple
 11
          source products?
 12
                   A.       My opinion is that we get the AWP from
 13
          First Data Bank and that that is an accurate AWP.
 14
                   Q.       What do you mean by accurate AWP?
 15
                   A.       That that is the average wholesale
 16
          price.
 17
                   Q.       And what leads you to have the belief
 18
          that the published AWPs are averages of wholesale
 19
          price?
 20
                   A.       Because that's what it's been
 21
          represented to us as.
 22
                   Q.       Who has made that representation?

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                                                                              Page 140
   1
                   A.       First Data Bank, by supplying us with
   2
          the file.
   3
                   Q.       Why would South Dakota implement a
   4
          reimbursement methodology where it would be --
   5
          where it would be reimbursing providers for lower
   6
          than an average, if that were the case?
   7
                   A.       Well, it would appear, I guess, that
   8
          there are some drugs that maybe AWP less 10 and a
   9
          half percent isn't a reimbursement level where at
 10
          that reimbursement level we could actually save
 11
          some money using a MAC.
 12
                            MS. RAMSEY:            I'm sorry, I don't know
 13
          whether that answered my question.                     Can the court
 14
          reporter please read back my last question.
 15
                                    (Whereupon, the Court Reporter
 16
          read back the requested portion.)
 17
                   A.       Are you waiting for me to respond?
 18
                   Q.       (BY MS. RAMSEY)            Yes, sir.
 19
                   A.       Oh, I thought that my answer had
 20
          answered your question.
 21
                   Q.       Well, you certainly would not expect
 22
          providers to be reimbursed at less than their

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                                                                               Page 155
   1
          31, 2005, correct?
   2
                   A.       Correct.
   3
                   Q.       Now I'm handing you Government Exhibit
   4
          No. 4 and Exhibit No. 4 is the South Dakota state
   5
          plan 91-04, correct?
   6
                                    (Deposition Exhibit Government 004
   7
          Identified.)
   8
                   A.       Correct.
   9
                   Q.       And this state plan became effective
 10
          also on July 1, 1991, correct?
 11
                   A.       Yes.
 12
                   Q.       And this supersedes state plan 90-11,
 13
          correct?
 14
                   A.       Yes.
 15
                   Q.       And this state plan states South
 16
          Dakota's reimbursement methodology for
 17
          prescription drugs from July 1, 1991 to December
 18
          31, 2005, correct?
 19
                   A.       Yes.
 20
                   Q.       I'm handing you Government Exhibit No.
 21
          5.
 22
                                    (Deposition Exhibit Government 005

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                                                                               Page 156
   1
          Identified.)
   2
                            MS. RAMSEY:             Counsel, I believe we only
   3
          have a couple minutes left, to give you a heads
   4
          up about time.
   5
                            MS. ACTON:             Okay.   Yeah.
   6
                   Q.       (BY MS. ACTON)             And Exhibit 5 is state
   7
          plan 90-11, correct?
   8
                   A.       Yes.
   9
                   Q.       And this state plan became effective on
 10
          January 1, 1990, correct?
 11
                   A.       Yes.
 12
                   Q.       And this supersedes state plan 84-14,
 13
          correct?
 14
                   A.       Yes.
 15
                   Q.       And this states South Dakota's
 16
          reimbursement methodology for prescription drugs
 17
          from January 1, 1990 to June 30, 1991, correct?
 18
                   A.       Yes.
 19
                   Q.       Now, can you read out loud, as quickly
 20
          as you can, looking at Exhibit No. 2, which is
 21
          your current state plan, can you read out loud
 22
          the first paragraph of that?

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                                                                               Page 161
   1
                            MS. ACTON:             I'm going to go as fast as
   2
          I can, okay?
   3
                   Q.       (BY MS. ACTON)             All the state plans
   4
          that I've showed you use the phrase "estimated
   5
          acquisition costs," correct, or EAC?
   6
                   A.       Yes.
   7
                   Q.       And all the state plans establish the
   8
          EAC by using AWPs, correct?
   9
                   A.       Yes.
 10
                   Q.       Now, I'm going to hand you what I've
 11
          marked as Exhibit No. 1.                     And this is a copy of
 12
          the Federal Register going back to July 1987
 13
          regarding the Code of Federal Regulations on
 14
          payments for services; do you see that?
 15
                                    (Deposition Exhibit Government 001
 16
          Identified.)
 17
                   A.       Yes.
 18
                            MS. RAMSEY:             Can that question be read
 19
          back?       The phone cut out, I didn't hear it.
 20
                            MS. ACTON:             Basically I'm asking him
 21
          about the Code of Federal -- the CFR or 447.301,
 22
          you are familiar with that, right?                      On the

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                                                                               Page 162
   1
          definition of estimated acquisition cost.
   2
                            MS. RAMSEY:             I understand your topic
   3
          now.
   4
                            MS. ACTON:             I haven't asked him the
   5
          question yet.
   6
                            MS. RAMSEY:             Thank you.
   7
                   Q.       (BY MS. ACTON)             So if you look at the
   8
          first -- the definition of estimated acquisition
   9
          cost under Section 447.301; do you see that?
 10
                   A.       Yes.
 11
                   Q.       Can you read that quietly to yourself
 12
          right now and tell me when you are done.
 13
                   A.       Okay.
 14
                   Q.       In using AWPs in your reimbursement
 15
          methodology, specifically in determining the
 16
          estimated acquisition cost, has the Department of
 17
          Social Services endeavored to determine the
 18
          estimated acquisition cost in accordance with
 19
          that definition in the federal regulation that
 20
          you are looking at?
 21
                   A.       Yes.
 22
                            MS. RAMSEY:             Objection to form.

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                                                                               Page 163
   1
                   Q.       (BY MS. ACTON)            Do Exhibits 2 through
   2
          5, which are the state plan amendments, state how
   3
          South Dakota has determined the estimated
   4
          acquisition cost from 1990 to the present?
   5
                   A.       Yes.
   6
                   Q.       Do these state plans, Exhibits 2
   7
          through 5, also state the source of the AWPs to
   8
          be used in determining the estimated acquisition
   9
          cost from 1990 to the present?
 10
                   A.       Yes.
 11
                   Q.       And do you know if the state has ever
 12
          used what has been referred to as DOJ AWPs?                               I
 13
          think you answered that already.
 14
                   A.       No.
 15
                   Q.       Would you be able to obtain on a
 16
          regular basis the AWPs and other information for
 17
          all the NDCs in your program without having a
 18
          database as provided by First Data Bank, RedBook,
 19
          or Medispan?
 20
                   A.       No.
 21
                            MS. KHANDHAR:            Objection, form.
 22
                            MS. RAMSEY:            Objection.

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